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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                 NO. 4:11CR00156-19 JLH

JOSHUA A. HAWLEY                                                                    DEFENDANT

                                             ORDER

       At the conclusion of the probation revocation hearing on September 4, 2013, the Court

determined that the sentencing should be postponed for a period of ninety days to allow defendant

the opportunity to demonstrate that he could comply with the conditions of supervision previously

imposed. On November 22, 2013, the Court received a memorandum from the probation office

reflecting that defendant has not been in compliance with his conditions of probation.

       IT IS THEREFORE ORDERED that the sentencing hearing on the government’s Motion to

Revoke Probation is hereby scheduled to begin on WEDNESDAY, DECEMBER 4, 2013, at 9:30

A.M., in Courtroom #4-D, Richard Sheppard Arnold United States Courthouse, 500 West Capitol

Avenue, Little Rock, Arkansas. Document #661.

       IT IS SO ORDERED this 26th day of November, 2013.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
